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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:11CR3032
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
ADELFO JUNIOR SOTO,                           )
                                              )
                     Defendant.               )



       IT IS ORDERED that:


       (1)    The plaintiff’s unopposed motion to continue sentencing (filing 101) is granted.


       (2)    Defendant Soto’s one-hour evidentiary hearing and sentencing are continued
to Thursday, March 22, 2012, at 12:00-1:00 p.m., before the undersigned United States
district judge, 5 th Floor, Robert V. Denney United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.


       Dated February 27, 2012.


                                           BY THE COURT:

                                           Richard G. Kopf
                                           Senior United States District Judge
